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IN THE UNITED sTATES DISTRICT COURT "'/>"j}vj§, 43 .5>
FOR THE WESTERN DISTRICT 0F TENNESSEE Q<:;"{,' Q/\ é?'u.,
EASTERN DIVISION 4,/£)',‘5.°0/»;>@ ¢$‘
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UNITED sTATES oF AMERICA

vs CR NO. 1:05-CR-10011-01-T

BOBBY JOE WHITMORE

ORDER ON CHANGE F PLEA

This cause came onto be heard on Apri} 27, 2005, Assistant U. S. Attomey,
J ames W. Powell, appearing for the govemment, and the defendant appeared in person and with
counsel, M. Dianne Smothers, who was appointed

With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in One (l) Count Indictment.

This case has been set for sentencing on Tuesday, July 26, 2005 at 8:30 A.M.

The defendant is remanded to the custody of the United States Marshal.

I'I` IS SO ORDERED.

LM

JAM D. TODD
UNI D STATES DISTRICT .TUDGE

DATE: 9 7 5aqu 91?'05_

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This notice confirms a copy of the document docketed as number 20 in
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M. Dianne Srnothers

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Honorable J ames Todd
US DISTRICT COURT

